        Case 3:19-cv-01743-SI       Document 59     Filed 11/08/19   Page 1 of 14




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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF MS. CARMEN
                                               RUBIO IN SUPPORT OF PLAINTIFFS’
                                               MOTION FOR A PRELIMINARY
                                               INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 2 of 14




Page 1 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 3 of 14




Page 2 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 4 of 14




Page 3 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 5 of 14




Page 4 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 6 of 14




Page 5 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 7 of 14




Page 6 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 8 of 14




Page 7 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 9 of 14




Page 8 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 10 of 14




Page 9 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 11 of 14




Page 10 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 12 of 14




Page 11 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 13 of 14




Page 12 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
      Case 3:19-cv-01743-SI   Document 59   Filed 11/08/19   Page 14 of 14




Page 13 - DECLARATION OF MS. CARMEN RUBIO IN SUPPORT OF PLAINTIFFS' MOTION
FOR A PRELIMINARY INJUNCTION
